UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                          :
UNITED STATES OF AMERICA,                                 :                              7/17/2018

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                                                          :
                                                          :            S5 15 Cr. 706 (VSB)
                      -against-                           :
                                                          :                 ORDER
NG LAP SENG,                                              :
                                                          :
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VERNON S. BRODERICK, United States District Judge:

        On July 13, 2018, Defendant filed a letter motion requesting an extension of his surrender

date from July 17, 2018 to July 23, 2018. (Doc. 831.) The Government opposed that request on

the same day. (Doc. 832.) The parties appeared for a hearing on July 16, 2018 wherein they

presented evidence and testimony from expert witnesses with respect to Defendant’s medical

condition. Accordingly, it is hereby:

        ORDERED that Defendant shall surrender to his designated facility on July 18, 2018 at

12:00 p.m. Defendant’s bail conditions until then shall remain unchanged.

        IT IS FURTHER ORDERED that Defendant may make a medical visit prior to his

surrender subject to conditions agreed upon by the parties.

        IT IS FURTHER ORDERED that, on or before July 23, 2018, the parties shall meet and

confer and propose redactions to the exhibits that were introduced into evidence at the July 16

hearing and have not already been the subject of a request to file under seal.

SO ORDERED.

Dated: July 17, 2018
       New York, New York

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